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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  JOHN M. KLUGE,                                        )
                                                        )
                                 Plaintiff,             )
                                                        )
                            v.                          )       No. 1:19-cv-02462-JMS-KMB
                                                        )
  BROWNSBURG COMMUNITY SCHOOL                           )
  CORPORATION,                                          )
                                                        )
                                 Defendant.             )

                    ENTRY FROM TELEPHONIC STATUS CONFERENCE
                  AND ORDER SETTING CASE MANAGEMENT DEADLINES

         The Parties, by counsel, appeared for a Telephonic Status Conference on September 5,

  2023, with Magistrate Judge Kellie M. Barr. Ahead of the conference, the Parties submitted a

  Joint Proposed Case Management Plan, [dkt. 173], which satisfied their obligations under Local

  Rule 16-2.

         After conferring with the Parties, the Court now enters the following deadlines:

         •     By agreement of the Parties, discovery shall not be reopened.
         •     Plaintiff shall make an updated settlement demand no later than September 8, 2023.
               Defendant shall respond to the updated settlement demand no later than September
               15, 2023.     Counsel shall copy JudgeBarrChambers@insd.uscourts.gov on the
               settlement demand and response.
         •     A settlement conference will be scheduled by separate order and is anticipated to be
               held at a date in late September at which the undersigned Magistrate Judge and counsel
               are currently available, assuming the Parties' clients and/or client representatives are
               also available. If they are not and a settlement conference cannot be held before
               November 3, 2023, the Parties shall file a joint motion to modify the briefing schedule
               set forth below such that the opening brief on the anticipated cross-motions will not be
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             filed until at least fourteen (14) days after the date on which the Court schedules the
             settlement conference.
         •   If settlement is not achieved, the Parties will proceed with briefing cross motions for
             summary judgment under the following schedule:
                  o Plaintiff shall file his motion for summary judgment and brief in support on or
                     before November 3, 2023.
                  o Defendant shall file its cross-motion, brief in support, and response in
                     opposition on or before December 15, 2023.
                  o Plaintiff shall file his reply in support of his motion and response in opposition
                     to Defendant’s cross-motion on or before January 26, 2024.
                  o Defendant shall file its reply in support of its cross-motion on or before
                     February 9, 2024.
         •   If necessary, the District Judge will schedule a trial by separate order at an appropriate
             time.

         SO ORDERED.

          Date: 9/6/2023




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